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AO 44# (Rev, 12/09) Summons on Third-Party Complaint

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

DANIEL ABREU, etc.
Plaintiff
¥.
WOODLAND ENTERPRISES, INC.
Defendant, Third-party plaintiff
Vv

TRIPLE "E" CORPORATION
Third-party defendant

Civil Action No, 11-252 SECT. L. MAG. 2

SUMMONS ON A THIRD-PARTY COMPLAINT

To: (Third-party defendant's name and address) TRIPLE “E" CORPORATION
BY SERVING ITS REGISTERED AGENT
PAUL T. EAST
2723 HORSESHOE TRAIL
PALM CITY, FL 33490

A lawsuit has been filed against defendant Woodland Enterprises___, who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff _Daniel Abreu, etc.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. [2 (a)3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a motion
under Rule 12 of the Federal Rules of Civil Procedure, The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:

Valerie E. Greenberg, Esq., Stacy Bercun Bohm, Esq., Leslie Miller Tomezak, Esq.
AKERMAN SENTERFITT, 350 E. Las Olas Blvd., Suite 1600, Ft. Lauderdale, FL 33301

it must also be served on the plaintiff or plaintiff's attorney, whose name and address are:
Russ M. Herman, Esq. and Leonard A. Davis, Esq.
Herman, Herman, Kalz & Cotlar, LLP
820 O'Keefe Ave., New Orleans, LA 70113

If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

A copy of the plaintiffs complaint is also attached. You may — but are not required to — respond to it.

Date:
CLERK OF COURT

Signature of Clerk or Deputy Clerk

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PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, ifany) Triple "E" Corporation

was received by me on (dae)

C1 | personally served the summons on the individual at (place

On (date) ; or

(J 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s fast known address; or

O I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

_ on (date) 3 oF
( | returned the summons unexecuted because 3 or
OF Other (specify:
My fees are $ fortraveland$ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

